GEORGE B. FRANCE, EXECUTOR, ESTATE OF GEORGE HENRY FRANCE, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.France v. CommissionerDocket No. 28558.United States Board of Tax Appeals18 B.T.A. 442; 1929 BTA LEXIS 2042; December 6, 1929, Promulgated *2042  The value of a certain parcel of real estate determined for estate-tax purposes.  H. H. Stipp, Esq., for the petitioner.  Arthur H. Murray, Esq., for the respondent.  LANSDON *442  The respondent has asserted a deficiency in estate tax in the amount of $1,965.54.  The only issue is the correct value of a certain parcel of land included in the estate of the decedent.  FINDINGS OF FACT.  George B. France, the petitioner, is the regularly appointed and acting executor of the estate of George Henry France, who died April 4, 1924, and is a resident of the City of Des Moines, in the State of Iowa.  The petitioner, in due course, made the estate-tax return required by law and included therein, in the inventory of property left by the decedent, a certain parcel of real estate located in the business section of the City of Des Moines, at a valuation of $50,000, and paid the estate tax thereon.  Upon the audit of such return the Commissioner increased the valuation of such real estate to the amount of $125,000, and determined the deficiency here in question.  *443  On February 7, 1924, the decedent executed a 99-year lease on the property in*2043  question to L. Ginsberg &amp; Sons, Inc., at an annual rental of $7,500.  Included in the terms of the lease was a provision that the lot, then improved by a three-story brick building, should be improved subsequent to the execution of the lease by the erection of a six-story building for the use of L. Ginsberg &amp; Sons, Inc., in their business as furniture dealers, and that the lessor and lessee should jointly execute a mortgage in the amount of $75,000 on the property, for the purpose of securing money to be used in the construction of such building.  L. Ginsberg &amp; Sons, Inc., had leased a lot with a frontage of 44 feet, just east of the property here involved, and desiring to expand their business, planned to secure the France property and an additional 22 feet just to the west of that lot, and upon the entire tract erect a six-story building with a frontage of 88 feet.  Before their negotiations were completed a rival in business purchased the 22 feet just west of the France property and paid therefor the amount of $83,000.  After the negotiations with the decedent were completed and the 99-year lease was executed, the terms of the lease as to the improvement were carried out and a six-story*2044  building for the use of L. Ginsberg &amp; Sons, Inc., with a frontage of 66 feet, was erected, and has since been used in the furniture business of that concern.  The value of the property here in question, at April 4, 1924, was $75,000.  OPINION.  LANSDON: After a careful consideration of all the evidence adduced, we are of the opinion that at April 4, 1924, the property in question had a value of $75,000.  Decision will be rendered for the petitioner, under Rule 50.